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12                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
13
14   Grand Canyon University,
15                                                 No. 2:21-cv-177-SRB
                      Plaintiffs,
16                                                 Defendants’ Motion for Summary
              v.                                   Judgment and Response to
17
                                                   Plaintiff’s Motion for Summary
18   Miguel Cardona, in his official capacity as   Judgment and Memorandum in
     Secretary of Education, et al.,               Support
19
20                   Defendants.

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1    I.     INTRODUCTION
2           This case challenges the Department of Education’s (the “Department”) authority to
3    set the terms when a school receives federal funds under Title IV of the Higher Education
4    Act of 1965 (the “HEA”), Pub. L. No. 89-329, 79 Stat. 1219 (codified as amended at 20 U.S.C.
5    § 1001 et seq.). Under Title IV, the Department distributes billions of dollars through loan and
6    grant payments for postsecondary education. To protect the integrity of Title IV, Congress
7    sensibly requires the Department to ensure that all schools meet certain requirements to
8    participate. In addition, because Congress recognized that different incentives come into play
9    when a school operates for profit (as opposed to a nonprofit institution or a public institution),
10   Congress imposed additional rules for proprietary institutions of higher education. Through
11   the HEA, Congress tasked the Department with ensuring that a school meets Title IV’s
12   requirements and determining whether an institution is designated as a non-profit or
13   proprietary institution of higher education for purposes of the program.
14             Plaintiff Grand Canyon University (“GCU”) is a private university that had been
15   owned by a for-profit entity, Grand Canyon Education, Inc. (“GCE”) for nearly two decades,
16   and operated as a proprietary institution during that time. In 2018, GCU changed its ownership
17   structure—with an eye toward being reclassified as a nonprofit school. To that end, GCE
18   created a new Arizona nonprofit entity, called Gazelle, and then GCE sold its assets (namely,
19   the core assets of private University GCU) to that new entity of its own creation. Under the
20   terms of the sale, the for-profit seller retained a strong foothold in the university. GCE
21   remained the exclusive provider of certain services to the school, in exchange for
22   approximately 60% of the school’s revenue on an ongoing and captive basis. In addition, other
23   aspects of the transaction (e.g., a credit agreement whereby Gazelle remained indebted to GCE
24   for the entire $800 million-plus sales price) and shared management (e.g., GCE’s CEO would
25   also be Gazelle’s President) left the seller and buyer deeply intertwined.
26          Upon its change in ownership, GCU sought to renew its eligibility for Title IV
27   participation, and asked the Department to newly classify the school as a “nonprofit
28   institution” for purposes of receiving student aid under Title IV. Based on a thorough review

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1    of the transaction documents and other supporting information, the Department approved
2    GCU’s ongoing Title IV participation as a proprietary institution, but denied its application to
3    convert to nonprofit status. In sum, the Department reasonably determined that GCU does
4    not qualify as a nonprofit institution under the HEA, because the school’s revenues were still
5    flowing to its prior owner (a for-profit corporation) and ultimately to the benefit of GCE’s
6    shareholders. Importantly, to qualify under Title IV as a “nonprofit institution,” a school must
7    demonstrate, among other things, that “no part of [its] net earnings [] benefits any private
8    shareholder or individual.” 34 C.F.R. § 600.2(i); 20 U.S.C. § 1003(13).
9             Plaintiff’s claims challenging the Department’s decisions fail as a matter of fact and law:
10   (1) the Department has authority to determine whether GCU is a nonprofit for purposes of
11   Title IV, even if the IRS has separately granted it 501(c)(3) tax-exempt status—indeed, both
12   the HEA and the Department’s implementing regulations expressly contemplate the
13   Department’s independent analysis; (2) the Department’s analysis was not arbitrary and
14   capricious; (3) the Department’s approach was not a policy change—rather, it was consistent
15   with the process employed by the Department for years, as Plaintiff itself repeatedly
16   acknowledged throughout the application period; (4) the Department’s decisions did not
17   “impose legislative rules that require notice and comment rulemaking”; and (5) Plaintiff does
18   not have a First Amendment right to make misleading statements relating to its nonprofit
19   status under Title IV.
20            Accordingly, the Court should grant summary judgment for Defendants.
21   II.      BACKGROUND
22            A.     Title IV Eligibility and Participation
23            The Higher Education Act was intended “to strengthen the educational resources of
24   our colleges and universities and to provide financial assistance for students in postsecondary
25   and higher education,” by (among other things) increasing federal money given to institutions
26   of higher education and giving low-interest loans to students. 79 Stat. 1219 (1965).1 Under
27
     1   The Higher Education Act has been reauthorized a number of times, including most recently
28

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1    Title IV of the HEA, “Congress provides billions of dollars through loan and grant programs
2    to help students pay tuition for their postsecondary education.” Ass’n of Private Sector Colls. &
3    Univs. v. Duncan, 681 F.3d 427, 433 (D.C. Cir. 2012). The Secretary has “broad authority” to
4    regulate programs administered by the Department, including Title IV. Am. Fed. of Teachers v.
5    DeVos, 484 F. Supp. 3d 731, 736 (N.D. Cal. 2020) (citing 20 U.S.C. § 1221e-3).
6            “To participate in Title IV programs—i.e., to be able to accept federal funds—a
7    postsecondary institution . . . must satisfy several . . . requirements.” Ass’n of Private Sector Colleges
8    & Univs., 681 F.3d at 433-34. To begin with, each school must be an “institution of higher
9    education” under the HEA. 20 U.S.C. § 10001. Section 101 of the Act provides the principal
10   definition of that term, which it limits to “public or other nonprofit institutions.” 20 U.S.C. §
11   1001(a)(4). “Proprietary institutions” and “postsecondary vocational institution[s],” id. §
12   1002(b) & (c), may also participate in Title IV programs, under different terms, but are not
13   eligible for most other programs authorized by the HEA. See Ass’n of Priv. Sector Colls. & Univs.
14   v. Duncan, 870 F. Supp. 2d 133, 138-41 (D.D.C. 2012) (discussing evolution of these definitions
15   through amendments to the HEA).2
16           The HEA defines “[t]he term ‘nonprofit’ as applied to a school, agency, organization,
17   or institution” as one that is “owned and operated by one or more nonprofit corporations or
18
19   by the Higher Education Opportunity Act, Pub. L. No. 110-315, 122 Stat. 3078 (Aug. 14,
     2008), which authorized most of the relevant programs through 2015. Congress continues to
20   provide appropriations for Higher Education Act programs under a variety of appropriations
21   legislation and continuing resolutions—including, for example, the Consolidated
     Appropriations Act, 2021, Pub. L. No. 116-260, 134 Stat. 1182, 1598-1612 (Dec. 27, 2020).
22
     2 Classification as a proprietary institution may impact an institution’s eligibility for other types
23   of funding. For example, Congress made clear that some coronavirus pandemic relief funds
24   are only available to public, nonprofit, or postsecondary vocational institutions of higher
     education, and directed smaller tranches of funding for proprietary institutions. See
25   Coronavirus Supplemental Appropriations, § 314(a)(1), (4), 134 Stat. 1932-33; American
     Rescue Plan, § 2003, 135 Stat. 23. In separate litigation, Plaintiff is challenging the
26
     Department’s determination that it is only eligible to receive pandemic relief funds as a
27   proprietery institution. The District Court dismissed Plaintiff’s claims. See Grand Canyon Univ.
     v. Cardona, No. CV-21-00566, 2021 WL 5396090 (D. Ariz. Nov. 18, 2021). Plaintiff filed an
28   appeal that is pending at the Ninth Circuit. See Grand Canyon Univ. v. Cardona, No. 21-17113.

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1    associations, no part of the net earnings of which inures, or may lawfully inure, to the benefit
2    of any private shareholder or individual.” 20 U.S.C. § 1003(13). The Department’s regulations
3    implement this provision of the HEA by further clarifying that:
4                  [F]or purposes of [institutional eligibility under the Higher
5                  Education Act], a “nonprofit institution” is an institution that:
6                  (i) Is owned and operated by one or more nonprofit corporations
7                  or associations, no part of the net earnings of which benefits any
                   private shareholder or individual;
8
                   (ii) Is legally authorized to operate as a nonprofit organization by
9
                   each State in which it is physically located; and
10
                   (iii) Is determined by the U.S. Internal Revenue Service to be an
11                 organization to which contributions are tax-deductible in
12                 accordance with section 501(c)(3) of the Internal Revenue Code.

13   34 C.F.R. § 600.2.

14          Some requirements for Title IV participation apply to all schools, regardless of whether

15   they are nonprofits or proprietary. For example, all institutions must be accredited by a

16   nationally-recognized accrediting agency. 20 U.S.C. §§ 1001(a)(5), 1002(b)(1), 1002(c)(1)(A).

17   And all institutions must demonstrate their “financial responsibility.” Id. § 1099c(a). In

18   addition, some Title IV eligibility requirements apply only to proprietary schools. They must

19   not derive more than 90% of their revenue from Title IV funds, id. § 1094(a)(24). And the

20   Department is engaged in the rulemaking process to reinstate gainful employment

21   requirements for proprietary institutions—which, if implemented, could require them to

22   demonstrate certain debt-to-earnings ratios for their students upon graduation. See Dept. of

23   Ed., Issue Paper 3: Gainful Employment (Session 1: Jan. 18-21, 2022), available at

24   https://www2.ed.gov/policy/highered/reg/hearulemaking/2021/3gainfulemployment.pdf.

25   Similar gainful employment regulations were issued in 2011, 76 Fed. Reg. 34448 (June 13,

26   2011), and were rescinded in 2019, 84 Fed. Reg. 31392 (July 1, 2019).

27          A school may “participate in . . . Title IV, HEA program[s] . . . only if the institution

28   enters into a written program participation agreement with the Secretary.” 34 C.F.R. §

                                                    4
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1    668.14(a)(1); 20 U.S.C. § 1094. The program participation agreement “conditions the [school’s]
2    initial and continued participation” in Title IV programs upon compliance with the applicable
3    regulations “and any additional conditions specified in the program participation agreement
4    that the Secretary requires the institution to meet.” 34 C.F.R. § 668.14(a)(1). Because some
5    conditions only apply to for-profit colleges, the Secretary must make a determination about
6    whether the school should be classified as nonprofit or proprietary institution at the outset, in
7    order to establish the terms of a school’s program participation agreement.
8           B.      Statutory and Regulatory Requirements Upon a School’s Change in
9                   Ownership

10          When a school that has been participating in Title IV programs undergoes “a change

11   in ownership that results in a change in control,” its program participation automatically

12   terminates and it ceases to qualify as an eligible institution. 34 C.F.R. § 668.14(g)(1). A “change

13   in ownership resulting in a change in control” may include, among other things: “[t]he sale of

14   the institution”; “[a] transfer of assets that comprise a substantial portion of the educational

15   business of the institution . . .”; and/or “a change in status as a for-profit, nonprofit, or public

16   institution.” Id. § 600.31(d); see also id. § 600.20(b)(2)(i). Upon such a change in ownership, the

17   school must submit a new application to the Secretary if it wishes to renew its participation.

18   Id. § 600.31(a)(1); Id. § 600.20(b)(2)(B) (requiring reapplication to “[r]establish [Title IV]

19   eligibility and certification as a private nonprofit, private for-profit, or public institution

20   following a change in ownership that results in a change in control as described in § 600.31”).3

21          Through this reapplication process, the school can “[re]establish [its] Title IV eligibility

22   and certification” by demonstrating “to the Secretary . . . that the institution continues to meet

23   the [relevant] requirements” Id. § 600.20(b)(2)(i). In addition, if the school applies to participate

24
     3 Potential buyers often wish to know if the Department sees any impediment to their
25   continued eligibility for Title IV after the anticipated change in ownership and what conditions
     may be imposed for continued participation. As a courtesy, and at the institution’s request, the
26
     Department may conduct a “preacquisition review.” This is a voluntary process that does not
27   result in a final agency decision. See U.S. Department of Education, 2017-2018 Federal Student
     Aid Handbook, vl. 2, ch. 5, at 2-121 (June 15, 2017). Only after the transaction occurs does
28   the Department make a final decision on a Title IV application. Id.

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1    in the Title IV program as a nonprofit institution, it must demonstrate that its new ownership
2    structure satisfies the definition of a “nonprofit institution” under the HEA and its
3    implementing regulations. Id. Depending on the circumstances, the Secretary may approve a
4    proprietary institution’s eligibility to continue participation in Title IV, while denying the
5    college’s request to participate as a nonprofit institution for purposes of the program.
6           If a school “under [] new ownership submits a ‘materially complete application’ . . . no
7    later than 10 business days after the day the change [in ownership] occurs,” then “the Secretary
8    may continue the institution’s participation in [Title IV] programs on a provisional basis” while
9    evaluating the application. Id. § 600.20(g)(1); see id. §600.20(h). Unless and until the Secretary
10   approves a school’s application for nonprofit status, the Department continues to treat the
11   school as a proprietary institution for Title IV purposes. If the Secretary approves the school’s
12   request to be treated as a nonprofit institution, the Secretary then considers the school a
13   nonprofit for purposes of its participation in Title IV.
14          C.      Grand Canyon University
15          GCU was founded in 1949, and sold to GCE in 2004. See Compl. ¶ 1. Since 2004, it
16   has participated in Title IV funding programs as a proprietary institution, as defined in Section
17   102(b) of the Higher Education Act.
18          In 2014, GCU’s Board of Trustees formed a new Arizona nonprofit entity, Gazelle
19   University (“Gazelle”),4 for the purposes of facilitating GCU’s conversion to nonprofit status.
20   AR-F-0066-0077. Gazelle would ultimately purchase all GCU-related “real property . . . as well
21   as tangible and intangible academic-related assets . . . from GCE” for approximately $853
22   million. AR-A-0002. As part of that sale, Gazelle agreed to pay approximately 60% of the
23   school’s adjusted gross revenue to the for-profit seller (GCE) on an ongoing basis, for the
24   provision of various services. AR-A-0003. On November 9, 2015, the IRS approved Gazelle’s
25   501(c)(3) tax-exempt status. AR-F-0607-0608.
26          After preliminarily agreeing upon the terms of purchase, GCU submitted a request for
27
28
     4Gazelle later changed its name to GCU. Consistent with the Court’s prior treatment, ECF
     55 at 2, this memorandum only refers to Gazelle when describing the sale of GCU in 2018.
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1    preacquisition review to the Department on January 18, 2018. AR-A-0001. On July 1, 2018,
2    notwithstanding the fact that GCU had not yet received a substantive response to that request,
3    the buyer and seller completed the sale. Id. Within ten business days, GCU submitted a
4    materially complete application to continue its participation in Title IV programs, and it sought
5    a change in status to be deemed a nonprofit institution under Section 101 of the HEA. Id. In
6    accordance with the regulatory authority, the Department continued GCU’s Title IV
7    participation while the agency evaluated that application. AR-A-0002.
8           On November 16, 2019, the Department approved GCU’s ongoing Title IV
9    participation as a proprietary institution, but denied its application to convert its status to a
10   nonprofit institution of higher education. AR-A-0016-0017. The Department offered two
11   primary reasons for the denial. First, the Department examined the transaction documents for
12   the change-in-ownership (including, but not limited to, the revenue-sharing servicing
13   agreement), and concluded that their terms would cause a substantial portion of the school’s
14   net earnings to benefit the for-profit seller on an ongoing basis. AR-A-0015. Second, the
15   Department concluded that overlap between management of the for-profit seller and the non-
16   profit buyer—notably, including the fact that the seller’s CEO would serve as the institution’s
17   President—indicated that GCU would still be effectively operated for the benefit of the for-
18   profit corporation. AR-A-0015-0016. The agency acknowledged that the IRS had granted
19   GCU tax-exempt status, but explained that determinations by the IRS and others “are not the
20   sole determining factors” in the Department of Education’s analysis, “nor does the
21   Department need to defer to those determinations.” AR-A-0014-0015. The agency further
22   noted that “the IRS approval was issued three years prior to the” transaction the Department
23   of Education reviewed. Id. Moreover, the agency found that the IRS had not “conducted a
24   comprehensive review” of the 2018 transaction, and “[u]nlike the IRS’s initial grant of tax-
25   exempt status, the Department’s determination of nonprofit status considers the structure and
26   planned operations of the institution when its owner(s) apply for that change of status.” Id.
27   Finally, the Department stated that GCU “must cease any advertising or notices that refer to
28   its ‘nonprofit status’” because “[s]uch statements are confusing to students and the public,

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1    who may interpret such statements to mean that the Department considers GCU a nonprofit
2    under its regulations,” and made clear that it “does not take a position regarding statements
3    that GCU may make about its IRS status as a 501(c)(3) tax exempt organization.” AR-A-0017.
4           GCU then proposed amending the servicing agreement with GCE, which would have
5    slightly modified its terms, AR-A-0020-0022, and sought reconsideration, which the
6    Department denied on January 12, 2021. AR-A-0019. The amended terms changed the
7    revenue-sharing structure somewhat, but not materially, and overall the revised terms did not
8    change “the basic structure whereby a substantial portion of GCU’s revenues benefits GCE.”
9    AR-A-0035. Thus, in denying reconsideration, the agency reiterated the reasoning in its
10   November 2019 letter, and explained that GCU’s 2018 change in ownership still resulted in
11   “taking a fully integrated proprietary institution and separating its academic and campus
12   structure into a nonprofit entity,” while “retaining” various “‘servicing’ functions in the
13   publicly-traded for-profit former owner.” AR-A-0028-29. The agency again explained that its
14   review differed from “the IRS’s initial grant of tax-exempt status” because “the Department’s
15   determination of nonprofit status considers the structure and planned operations of the
16   institution when its owner(s) apply for that change of status” and the agency “seeks to ensure
17   that a nonprofit institution’s revenues . . . are primarily devoted to the mission of the school
18   and not to other parties, including . . . the prior owner and its shareholders.” AR-A-0035.
19   Accordingly, the Department would continue to classify GCU “as a proprietary institution”
20   for purposes of its Title IV participation. AR-A-0037.
21          On February 2, 2021, Plaintiff filed the instant case, challenging the Department’s
22   November 6, 2019 and January 12, 2021 decisions (collectively, the “Decisions”) under the
23   Administrative Procedure Act (“APA”) and the First Amendment.
24   III.   STANDARD OF REVIEW
25          The APA provides that courts “shall . . . hold unlawful and set aside agency action . .
26   . found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
27   with law.” 5 U.S.C. § 706(2)(A). When reviewing agency action under the APA, courts do not
28   apply the Fed. R. Civ. P. 56 analysis for determining whether a genuine issue of material fact

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1    exists “because of the limited role of a court in reviewing the administrative record.” Sierra
2    Club v. Mainella, 459 F. Supp. 2d 76, 89 (D.D.C. 2006); Occidental Eng’g Co. v. INS, 753 F.2d
3    766, 769-70 (9th Cir. 1985). Rather, “[u]nder the APA, it is the role of the agency to resolve
4    factual issues to arrive at a decision that is supported by the administrative record, whereas
5    ‘the function of the district court is to determine whether or not as a matter of law the evidence
6    in the administrative record permitted the agency to make the decision it did.’” Sierra Club, 459
7    F. Supp. 2d at 90 (quoting Occidental Eng'g Co. v. INS, 753 F.2d 766, 769 (9th Cir. 1985)). “[T]he
8    district court acts like an appellate court, and the ‘entire case’ is ‘a question of law.’” Nat'l Law
9    Ctr. on Homelessness v. U.S. Dep't of Veterans Affs., 842 F. Supp. 2d 127, 130 (D.D.C. 2012).
10   IV.    ARGUMENT
11          A.      The Department Acted Consistent with its Statutory Authority and
                    Regulations to Make an Independent Determination as to Plaintiff’s
12                  Nonprofit Status.
13
                    1.      The HEA Authorizes the Secretary to Determine Whether a School is a
14                          “Nonprofit Institution” for Purposes of the Higher Education Act.
15          The Secretary has broad authority to issue and implement regulations that “advance[]
16   the purposes of both the Higher Education Act and Title IV (i.e., a statute and program that
17   is administered and managed by the Department).” Ass’n of Priv. Sector Coll. & Univs., 110 F.
18   Supp. 3d 176, 199 (D.D.C. 2015) (citing 20 U.S.C. §§ 1221e-3 & 3474). Congress expressly
19   authorized the Secretary to make determinations about schools’ eligibility to participate in Title
20   IV programs, and to set the terms of each school’s participation. 20 U.S.C. § 1094. Congress
21   also made clear that it is the Department’s role to ensure that the terms of each school’s Title
22   IV participation comport with the HEA’s eligibility requirements—including, when deemed
23   applicable, HEA requirements that apply only to proprietary institutions. See 20 U.S.C. § 1002.
24          Consistent with this authority, the Department promulgated longstanding regulations
25   that set forth the “notice and application procedures for establishing, maintaining, or
26   expanding institutional eligibility and certification,” 34 C.F.R. § 600.20, and a reapplication
27   process that applies when a school undergoes a “change in ownership resulting in a change in
28   control.” Id. § 600.31(a). Because different statutorily-mandated terms apply depending on

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1    whether the school is a nonprofit institution or proprietary institution, the Department
2    necessarily determines which status best characterizes the school at the time of its application.
3    In making that determination, the Secretary applies the definition of “nonprofit institution”
4    set forth in the HEA and its implementing regulations. 20 U.S.C. § 1003(13); 34 C.F.R. § 600.2.
5           Based on this established statutory and regulatory framework, there can be no doubt
6    that the Secretary has authority to make determinations about a school’s appropriate
7    classification to participate in Title IV. Yet, Plaintiff contends the Department acted contrary
8    to law because “[t]he definition of nonprofit institution at 34 C.F.R. 600.2 cannot be read to
9    give the Secretary authority to determine nonprofit status.” Pl’s Mot. at 10. Plaintiff fails to
10   recognize that the Department’s authority derives from its statutory mandate to set the terms
11   for each school’s participation in Title IV, which necessarily includes determining whether the
12   school is subject to the requirements applicable to a nonprofit or to a proprietary institution.
13                 2.      The Decisions are Consistent with the Unambiguous Language of the
14                         Department’s Regulations.

15          Under the HEA, “[t]he term ‘nonprofit’ as applied to a school, agency, organization,
16   or institution” means one that is “owned and operated by one or more nonprofit corporations
17   or associations, no part of the net earnings of which inures, or may lawfully inure, to the
18   benefit of any private shareholder or individual.” 20 U.S.C. § 1003(13). To implement this
19   provision, the Department’s regulations set forth three elements that must be met in order for
20   a school to be a “nonprofit institution.” The school must be:
21
                   “(i) [] owned and operated by one or more nonprofit
22                 corporations or associations, no part of the net earnings of which
                   benefits any private shareholder or individual;
23
24                 (ii) [] legally authorized to operate as a nonprofit organization by
                   each State in which it is physically located; and
25
26                 (iii) [] determined by the U.S. Internal Revenue Service to be an
                   organization to which contributions are tax-deductible in
27                 accordance with section 501(c)(3) of the Internal Revenue Code.
28   34 C.F.R. § 600.2 (emphasis added).

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1           Section 600.2 has three subparts that are connected by the word “and.” This means
2    that, for an institution to be a “nonprofit” for purposes of the HEA, the school must satisfy
3    all three elements—i.e., it must show that it has tax-exempt status under subpart (iii) and it
4    must satisfy subparts (i) and (ii) in addition to that. Use of the word “and” to include all
5    subparts “is one of the clearest and easiest statutory principles to apply.” In re Duncan, No.
6    2:11-BK-16577, 2012 WL 5462917, at *3 (Bankr. D. Ariz. Nov. 6, 2012); see also In re First
7    Magnus Fin. Corp., 403 B.R. 659, 665 (D. Ariz. 2009) (holding that the connector “and” requires
8    that both parts of a subsection must exist).5
9           Ignoring this plain language, Plaintiff argues that an IRS grant of 501(c)(3) tax-exempt
10   status alone “controls nonprofit status for Title IV participation.” Pl.’s Mot. at 12. To the
11   contrary, the plain language of Section 600.2 clearly aligns with the Department’s approach.
12   Plaintiff’s interpretation would render parts (ii) and (iii) of the definition in Section 600.2, as
13   well as the word “and,” meaningless—contrary to the well-established maxim of statutory
14   interpretation that courts “should attempt to give meaning and effect to every word, clause
15   and section of a regulation.” United States v. Martinez, 905 F.2d 251, 255 (9th Cir. 1990) (“[A]
16   court should not interpret a statute to render meaningless certain parts of that statute.”);
17   Alaska Fish & Wildlife Fed’n & Outdoor Council, Inc. v. Dunkle, 829 F.2d 933, 943 (9th Cir. 1987)
18   (“[O]ne provision should not be interpreted in a way which is internally contradictory or that
19   renders other provisions of the same statute inconsistent or meaningless.”). Moreover,
20   Plaintiff’s myopic focus on part (iii) of the definition gets it backward, given that part (i) tracks
21   the language of the statute. See 20 U.S.C. § 1003(13).
22          Because the language of Section 600.2 is clear, Plaintiff’s argument fails from the start.
23   When the “words of a [regulation] are unambiguous, then [the] first canon [of relying on the
24   text of the statute or regulation] is also the last: judicial inquiry is complete.” Mountain Comms.
25
26   5 Plaintiff itself previously recognized that the Department considers all three factors. See AR-
27   J-0079 (“To our knowledge, the Department has never published any [policy] on any other
     factors that [it] would consider in assessing whether an institution qualifies as a nonprofit entity
28   for Title IV purposes beyond the three factors above.” (emphasis added)).

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1    for Fire Safety v. Elliot, 25 F.4th 667, 676-77 (9th Cir. 2022) (quoting Conn. Nat’l Bank v. Germain,
2    503 U.S. 249, 254 (1992)). “That is so because ‘[o]nly the text of a regulation goes through the
3    procedures established by Congress for agency rulemaking. And it is that text on which the
4    public is entitled to rely.’” Id. (quoting Perez v. Mort. Bankers Ass’n, 575 U.S. 92, 131 (2015)
5    (Thomas, J. concurring)). Since the regulation is unambiguous, the Court need look no further.
6            Still, Plaintiff is wrong to argue that the Department’s interpretation of Section 600.2
7    “contravenes” its other change-in-control regulations. Pl.’s Mot. at 11. Plaintiff misconstrues
8    the fact that the regulations list “a change in status as a for-profit, nonprofit, or public
9    institution” as one of the events that triggers a school’s requirement to reapply for Title IV
10   eligibility. Id. (citing 34 C.F.R. § 600.31(d)(7)). Plaintiff incorrectly argues that this means a
11   change in the institution’s classification as a “nonprofit institution” for Title IV purposes has
12   already occurred prior to the Department’s review. Id. But the regulatory history makes clear
13   that the triggering event listed in Section 600.31 refers to an institution’s change in IRS tax-
14   exempt status—not its classification as a “nonprofit institution” for Title IV purposes (which
15   is a determination that can only be made by the Department after it reviews the school’s
16   application). As the Department explained during the rulemaking process, “[t]he Secretary
17   considers it reasonable to treat changes in business form [to a 501(c)(3)] as a significant change
18   in control warranting the same scrutiny section 498(i) of the HEA dictates for other, perhaps far less
19   consequential changes in governance by schools.” 59 Fed. Reg. 22333 (emphasis added).6 In other
20   words, the Department included a change to 501(c)(3) status as triggering event for the very
21   purpose of ensuring that the Department would conduct the same independent examination
22   that it applies to other changes in control—e.g., the analysis informed by the three-prong test
23   set forth in Section 600.2—regardless of whether the other types of changes in ownership
24   listed in 34 C.F.R. § 600.31(d) are even at play. The fact that a school in that situation would
25   already have demonstrated it satisfies one prong of that test (tax-exempt status) does not
26
27   6 The Department further noted that “although a corporation may affect the change in form
     from taxable to tax-exempt, nonprofit status with little formality . . . these consequences of the change
28   make it a change cognizable under Section 498(i) of the HEA.” Id. (emphasis added).

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1    somehow eliminate its requirement to meet the other two prongs. Rather, it is possible—and
2    indeed sensible—to interpret the Sections 600.2 and 600.31 “so that that they do not conflict
3    and so that both provisions serve a purpose.” Alaska Fish & Wildlife Fed’n, 829 F.2d at 943.7
4                   3.      Even if the Regulations were Ambiguous, the Department’s
5                           Interpretation is Reasonable.

6            Even assuming arguendo that the applicable regulations were ambiguous, the
7    Department’s interpretation was reasonable. For the reasons discussed above, the
8    Department’s interpretation of Section 600.2 is the product of its “fair and considered
9    judgment” about when a school can be classified as a “nonprofit institution” under the HEA.
10   And examination by the Department ensures the integrity of the HEA’s requirements for
11   proprietary institutions, thereby serving their statutory purpose of preventing program
12   weaknesses and abuse among for-profit institutions. Thus, the Department’s interpretation
13   of its regulations is entitled to deference. See Kisor v. Wilkie, 139 S. Ct. 2400, 2417 (2019).
14           In any event, the Department’s interpretation of its regulations is the most reasonable
15   interpretation of those provisions. It would make no sense for the HEA to require schools to
16   submit applications to the Department upon a change in control, 34 § 600.31(a)(1); id. §
17   600.20(b)(2)(B), and to require the Department to set the terms of the school’s Title IV
18   program participation, id. § 600.20(b)(2)(i), while at the same time eliminating any discretion
19
20   7Plaintiff also points to the Department’s 2010 amendment of Section 600.2, which added a
     distinct subsection to address nonprofit status for foreign institutions. Pl.’s Mot. at 13. Plaintiff
21   is wrong to argue that the nonprofit test for foreign institutions somehow maps onto (and
22   supersedes) the Regulation’s separate test for domestic institutions. The Department set forth
     a different test to consider foreign institutions because they are not similarly situated, given
23   the array of distinct concerns at stake when foreign regulatory bodies are also involved. See
24   Fed. Reg. 42,190, 42,192 (July 20, 2010). Similarly, Plaintiff’s reliance on the Department’s
     recent removal of redundant language from Section 600.2, which merely corrected what was
25   obviously a drafting error, id., also is a red herring. See 85 Fed. Reg. 18, 649 (Apr. 2, 2020).
     That identical language had inadvertently been copied in the course of adding the foreign
26
     institution subsection, and was never intended to effect a substantive change, compare 34 C.F.R.
27   § 600.2 (effective Sept. 8, 2006 to July 1, 2010), with 34 C.F.R. § 600.2 (effective July 1, 2011);
     see also 75 Fed. Reg. 42,190. 42,292, 42,230 (July 20, 2010) (discussing forthcoming
28   amendments to Section 600.2 without proposing the redundant language would be included.).

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1    for the Department to scrutinize which eligibility requirements apply for purposes of that
2    program participation. Surely the Department should not—and cannot—be required to
3    classify a school as a nonprofit, even if it is readily apparent to the Department that the school
4    actually operates for the benefit of a private third-party. That outcome would contravene
5    Congress’s mandate that: “the term ‘nonprofit’ as applied to a school, agency, organization, or
6    institution means a school, agency, organization, or institution owned and operated by one or
7    more nonprofit corporations or associations, no part of the net earnings of which inures, or may lawfully
8    inure, to the benefit of any private shareholder or individual.” 20 U.S.C. § 1003(13) (emphasis added).
9            The purpose of the Title IV application (and reapplication) process is for the
10   Department to ensure program integrity and that the terms of each school’s program
11   participation adequately protect students and the public. See generally 34 C.F.R. § 668.16. The
12   Department’s independent review as to whether a school qualifies as a non-profit for purposes
13   of the HEA is a reasonable mechanism to serve that statutory purpose.
14           B.      The Department’s Determination that GCU is not a Nonprofit for
15                   Purposes of Title IV Participation was not Arbitrary and Capricious.

16           In the alternative, Plaintiff argues that if the Department had authority to make a
17   determination as to GCU’s nonprofit status for purposes of Title IV participation, the
18   Decisions were “arbitrary and capricious.” On the contrary, the Decisions were reasonable
19   and consistent with APA standards.
20           The APA requires a reviewing court to “hold unlawful and set aside agency action,
21   findings, and conclusions found to be . . . arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).
22   Courts’ review under this directive is narrow and deferential. See Dep’t of Comm. v. New York,
23   139 S. Ct. 2551 (2019). The Court “must uphold a [decision] if the agency has examined the
24   relevant considerations and articulated a satisfactory explanation for its action, including a
25   rational connection between the facts found and the choice made.” F.E.R.C. v. Elec. Power
26   Supply Ass’n, 136 S. Ct. 760, 782 (2016). “Th[is] requirement is satisfied when the agency’s
27   explanation is clear enough that its path may reasonably be discerned,” Encino Motorcars, LLC
28   v. Navarro, 136 S. Ct. 2117, 2125, even where an agency’s decision is “of less than ideal

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1    clarity,” F.C.C. v. Fox Telev. Stations., Inc., 556 U.S. 502, 513 (2009). The Court cannot “ask
2    whether a regulatory decision is the best one possible or even whether it is better than the
3    alternatives.” Elec. Power Supply Ass’n, 136 S. Ct. at 782. Nor may the Court “substitute [its]
4    judgment for that of the [agency].” Dep’t of Commerce, 139 S. Ct. at 2569. The Court is also
5    prohibited from “second-guessing the [agency]’s weighing of risks and benefits and penalizing
6    [it] for departing from the . . . inferences and assumptions” of others. Id. at 2571. The
7    challenged Decisions meet this deferential standard.
8           The Department examined the relevant considerations and articulated a satisfactory
9    explanation for the decision. Because Plaintiff readily met the second and third prongs of the
10   Department’s definition of a “nonprofit institution,” discussed above, the Department
11   explained that its analysis focused on the remaining issue (whether GCU is operated by a
12   nonprofit and whether its net earnings benefit any private shareholder or individual)”—i.e.,
13   the first prong. AR-A-0002-0010. To make that determination, the Department conducted an
14   in-depth analysis of the relevant considerations, including: the transaction documents that
15   govern Plaintiff’s corporate structure; valuation reports from consulting firms that were
16   prepared for Plaintiff to purportedly support the legitimacy of that structure; the applicable
17   Title IV regulations that govern nonprofit status for purposes of Title IV; and relevant
18   authority interpreting a similar standard from the Internal Revenue Code. See AR-A-0010. The
19   Department also considered the fact that the IRS had granted Plaintiff 501(c)(3) tax exempt
20   status, but determined that its own review standards for nonprofit status were distinguishable
21   and warranted a different result for purposes of Title IV participation.
22          a.     Analysis of Transaction Documents. The Department provided a detailed
23   description and analysis of: (1) the Asset Purchase Agreement, which set the terms for
24   Gazelle/GCU to acquire the school’s assets from GCE, AR-B-0007-0059; (2) the Credit
25   Agreement, which structured the purchase through a Senior Secured Note with GCE as the
26   lender, AR-B-1355-1441; and (3) the Master Services Agreement (the “MSA”), which set up a
27   revenue-sharing agreement through which GCE is guaranteed to continue to providing certain
28   services to Gazelle/GCU in exchange for approximately 60% of the school’s adjusted gross

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1    revenue, AR-B-1279-1354, including under the amended terms that were presented upon
2    reconsideration. AR-A-0021. The MSA also sets an initial 15-year term for this revenue-
3    sharing arrangement, with automatic renewals every five years into perpetuity, and imposes
4    punishing fees for termination. AR-A-0002-0004, 0012-0016; AR-A-0021.
5           Based on its careful analysis of these materials, the Department reasonably “concluded
6    that the primary purpose of the MSA, and by extension the Transaction, was to drive
7    shareholder value for GCE with GCU as its captive client—potentially in perpetuity.” AR-A-
8    0012; AR-A-0024. In particular, the Department expressed concern that “[d]espite GCE only
9    taking on the responsibilities of 28% of the operating costs, 60% of the gross adjusted revenue
10   from the Institution will be paid to GCE under the MSA” and “[w]hen payments on the Senior
11   Secured Note are included in the analysis, GCE will be receiving approximately 95% of
12   Gazelle’s revenue.” AR-A-0014. Under these circumstances, it was reasonable to conclude that
13   “if revenue increases at a rate faster than operating costs, GCE has the potential to be paid
14   even significantly higher amounts over the costs of the services it provides. Therefore, instead
15   of the increased revenue being used for GCU’s exempt purpose of providing education, the
16   additional revenues would benefit the shareholders of GCE.” Id.; AR-A-0021.8
17          In addition, the Department concluded that overlap between the management of GCE
18   and GCU indicated that GCU would still effectively be operating under control of the for-
19   profit seller—most notably the fact that the same person (Brian Mueller) would continue to
20   serve as both GCE’s CEO and GCU’s President, in addition to his being a GCE shareholder.
21   AR-A-0015-16. In light of “the breadth of the services provided under the MSA” and the
22   “obviously conflicting loyalties at stake,” the Department reasonably concluded that Mr.
23   Mueller was not insulated from conflicts, despite some limited protections put into place. Id.;
24   see also AR-A-0036. In sum, against the backdrop of the overwhelming benefits flowing to
25
     8 While Plaintiff proposed some minor adjustments to the revenue-sharing agreement when
26
     seeking reconsideration, the Department found that “[t]he proposed revised terms for the
27   arrangement . . . do not change the fact that most of the revenue being generated by
     Gazelle/GCU is going out the door to another entity—GCE—for the benefit of its
28   shareholders.” AR-A-0032.

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1    GCE under the MSA and the credit agreement, Mr. Mueller’s conflict of interest was yet
2    another factor that confirmed the Department’s determination that GCU should not be
3    classified as a nonprofit institution for Title IV purposes. AR-A-0015; AR-A-0036.
4           Notably, the Department did not “condition GCU’s nonprofit status on removing its
5    chosen President,” as Plaintiff suggests. Pl.’s Mot. at 22. Indeed, the Department made clear
6    that it was not directing GCU to remove Mr. Mueller as President of the school. Since the
7    Department’s only concern was Mr. Mueller’s dual roles, it explained that “nothing would
8    prevent [him] from severing ties with GCE if [he] and (and the GCU Board) thought it was
9    more important for [him] to stay with GCU instead of serving in two potentially conflicting
10   positions.” AR-A-0036; see 75 Fed. Reg. 66832-01 (explaining intent of “nonprofit institution”
11   definition in Section 600.2 “is not to interfere with the academic decision-making process”
12   but rather to “ensure the integrity of the Federal Programs, including the title IV, HEA
13   programs”). Notwithstanding these concerns, Mr. Mueller chose to continue in both positions.
14          b.      Analysis of Plaintiff’s Expert Reports. The Department also carefully considered the
15   valuation reports that Plaintiff submitted from Barclays Capital Inc. (“Barclays”) and Deloitte
16   Tax LLP (“Deloitte”), which were commissioned to support the transaction. AR-A-004-008
17   (discussing AR-C-0001-0042 and AR-C-0057-00140). The Department identified multiple
18   flaws in those reports, and also noted that the credibility of those reports was questionable in
19   light of the fact that “opinions in key areas appear to have been based on information supplied
20   by GCE management.” AR-A-0009. Based on those considerations and its thorough review,
21   the Department reasonably concluded that nothing in those reports undermined its view that
22   GCU was structured for the benefit of GCE’s shareholders.9
23          The Department also extensively reviewed supplemental economic studies that
24
25   9 Contrary to Plaintiff’s assertion, the Department’s analysis was not based on “mathematical
     errors.” Pl.’s Mot. at 23. The Department did not find that GCU’s “operating expenses”
26
     increased as a result of the transaction. Rather, the Department noted, based on the Barclays
27   report, that the costs to operate GCU “increased from $810 Million to $1.496 Billion . . . solely
     as a result of the Service Fees paid to GCE.” AR-A-0005. In other words, the costs to the University
28   rose dramatically, even if the underlying expenses remained the same.

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1    Plaintiff provided in support of its application for reconsideration, which were from Deloitte
2    and BKD CPAs & Advisors (“BKD”). AR-A-0024 (discussing AR-C-0224-0306 and AR-C-
3    0316-0459). The Department provided detailed explanation as to why nothing in those reports
4    demonstrated that the revenue-sharing arrangement between GCE and GCU “potentially into
5    perpetuity, constitutes anything other than a continuing revenue stream to its former owner
6    GCE, the primary purpose of which is to drive shareholder value for GCE.” AR-A-0024.
7           In particular, the Department explained that both Deloitte’s and BKD’s studies were
8    based on transfer pricing methods—which, as described in the reconsideration decision, are
9    methods that “allow[] for the establishment for the goods and services exchanged between a
10   subsidiary, an affiliate, or commonly controlled companies that are part of the same larger enterprise
11   [which] can lead to tax savings for corporations.” AR-A-0025 (emphasis added). The
12   Department reasonably concluded that the transfer pricing approach was inapt here, where
13   the entire question at hand is whether the service agreement is consistent with the behavior of
14   what should be two financially independent entities. Id. As the Department explained: “Here, the
15   issue is not whether two controlled parties have properly allocated income and costs between
16   themselves for tax and accounting purposes.” Id. Instead, “the issue is whether requiring GCU
17   to actually pay out to GCE, an independent entity, a substantial share of its revenues (i.e.,
18   actual money out the door, not just a paper exercise of putting dollars in one column or
19   another for accounting and tax purposes) . . . is the type of benefit that disqualifies GCU from
20   being recognized by the Department as a nonprofit institution.” Id.; see also AR-A-0032 (“The
21   Department located no authority, nor have either Deloitte or BKD cited any sources, that
22   support a profit-splitting transfer pricing method as the correct methodology to evaluate a
23   transaction in which one of the parties is organized as a nonprofit entity under state law.”). It
24   was reasonable for the Department to consider this important distinction. Indeed, if anything
25   the fact that Plaintiff proffers the transfer pricing studies at all, demonstrates that Plaintiff
26   conceives of GCU and GCE as a common enterprise.
27          Plaintiff largely ignores this aspect of the Department’s decision and fails to explain
28   why Plaintiff relied only upon a methodology typically reserved for controlled entities, instead

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1    of one for independent contractual parties. Instead, Plaintiff argues that the Department
2    “misapplied tax law” by disagreeing with “hyper-technical” aspects of its experts’ transfer
3    pricing analysis. Pl.’s Mot.. at 27-29. This misses the point. The Department’s decision was
4    not ultimately based on its disagreement with the technical aspects of Plaintiff’s transfer
5    pricing analysis, but rather on its view that transfer pricing is not the appropriate framework
6    for analyzing a transaction between two purportedly-independent entities in the first place. AR-
7    A-0026. While the Department also correctly discussed why particulars of the transfer analyses
8    in Plaintiff’s studies were problematic, that was merely icing on the cake, not the determining
9    factor. See id. (“While the Department considers the application of a transfer pricing analysis
10   here to be questionable, it nevertheless wants to address the conclusions reached by Deloitte
11   and BKD.”). In any event, while Plaintiff may disagree with the Department’s reasons for
12   rejecting its experts’ methodology (both as to the overall approach and as to the particulars of
13   the analysis itself), Pl.’s Mot. at 27-29, that alone cannot render the Decisions arbitrary and
14   capricious. Expert theories and assumptions are “‘simply evidence for the [agency] to
15   consider,’ and are not entitled to controlling weight.” Becerra v. Azar, 950 F.3d 1067, 1100 (9th
16   Cir. 2020) (quoting Dep’t of Commerce, 139 S. Ct. at 2571); Ass’n of Priv. Sector Coll. & Univs., 110
17   F. Supp. 3d at 195 (“[A] battle of experts” is “off limits to APA judicial review”). Thus, the
18   only question is “whether the agency examined the relevant considerations” from Plaintiff’s
19   expert studies and laid out a reasonably discernable path for its alternative view. F.E.R.C., 136
20   S. Ct. at 782; Encino Motorcars, LLC, 136 S. Ct. at 2125. The Department clearly did so here.
21          c.      Consideration of IRS Grant of Tax-Exempt Status. Contrary to Plaintiff’s assertions,
22   the Department did not “ignore[e] the IRS’s decision approving GCU’s tax-exempt status.”
23   Pl.’s Mot. at 23. The Department expressly considered the IRS’s designation of tax-exempt
24   status, and for several reasons concluded that this designation was not determinative in the
25   context of GCU’s eligibility for Title IV participation. The Department found that “[t]here is
26   no evidence that the IRS conducted a comprehensive review of the MSA or any of the studies
27   that were later performed to support the MSA.” AR-A-0015. Rather, the IRS granted tax-
28   exempt status three years prior to the Transaction. And the IRS made its decision just twenty-

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1    two business days after Gazelle’s application, merely based upon the representations made by
2    Plaintiff at that time. Id. Unlike the Department’s in-depth analysis of transaction documents
3    and expert reports, the IRS’s review of initial 50(c)(3) applications is a purely representational
4    process—meaning that the IRS makes its determination “based solely upon the facts,
5    attestations, and representations” made by the taxpayer in its request. See Internal Rev. Proc.
6    2202-5 § 3.05, available at https://www.irs.gov/irb/2022-01_IRB#REV-PROC-2022-5.10
7           Thus, the Department concluded, based on its expertise in administering the Title IV
8    program, that its review was materially distinguishable from the IRS’s determination. First,
9    “[u]nlike the IRS’s initial grant of tax-exempt status, the Department’s determination of
10   nonprofit status considers the structure and planned operations of the institution when its
11   owner(s) apply for that change in status.” AR-0015. Indeed, as Plaintiff itself recognized, “[t]he
12   financial terms of the transaction [] changed since the 2015 application [to the IRS]” and “the
13   third party valuation and transfer pricing studies that New GCU has initiated for purpose of
14   informing the price of the acquisition of GCU and the terms of the MSA had not yet been
15   completed” at the time of the IRS’s review. AR-J-0077 n.3.
16           Second, the Department “seeks to ensure that a nonprofit institution’s revenues—a
17   good portion of which are generated from Title IV funds—are primarily devoted to the mission of
18   the school and not to other parties, including (as here) the shareholders of the prior owner.” Id.
19   (emphasis added). In light of the Department’s important task of identifying the appropriate
20   conditions for releasing millions of dollars in taxpayer funds to Plaintiff, it was reasonable, and
21   consistent with the statute and regulations as demonstrated above, for the Department to
22   conclude that a more in-depth review of Plaintiff’s organizational structure was warranted.11
23
     10 The IRS’s approach is necessitated by the demands of its caseload. In FY 2021 alone, the
24   IRS closed 94,466 applications for tax-exempt status, and approved 86.4% of those applica-
25   tions. See IRS Databook, Table 12 (Oct. 1, 2020-Sept. 30, 2021), available at
     https://www.irs.gov/pub/irs-pdf/p55b.pdf. Only a very small fraction of the applications for tax-
26   exempt status received by the IRS are submitted on behalf of educational institutions. Id.
27   11 Plaintiff cites IRS regulations for the proposition that GCU is entitled to “rely upon” the

     IRS’s determination of its tax-exempt status. Pl.’s Mot. at 24. But, those regulations are simply
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1    The fact that the Department recognized similarities between its own definition of “non-profit
2    institution” and the language of 26 U.S.C. § 501(c)(3), and thus considered relevant tax
3    authority when making its determination, AR-A-0010-0012, does not somehow render its
4    decision arbitrary. Rather, the Department took account of that tax law, but then applied it in
5    a different context—that of administering a financial assistance program in a manner that
6    accounted for the important interests of the students and the public at stake.
7           At its core, Plaintiff’s argument is not that the Department was wrong to consider
8    persuasive tax authority in its analysis, but rather that the Department should not have
9    conducted any analysis at all. See Pl.’s Mot. at 12-13, 24-25. Plaintiff posits that the Department
10   should have blindly deferred to the IRS’s grant of tax-exempt status—which is conveniently
11   based on Plaintiff’s own representations about its corporate structure. As discussed supra in
12   Part IV.A, the Department has clear authority to make independent determinations with
13   respect to a school’s “nonprofit status” when setting the terms for participation in its program,
14   and the Department reasonably did so here.
15          d.      Consideration of Assessment by Accrediting Agency. The Department considered the
16   fact that Plaintiff’s accrediting agency, the Higher Learning Commission (“HLC”), had
17   approved its conversion for accreditation purposes, but disagreed with HLC’s conclusions that
18   Plaintiff’s executive leadership remained sufficiently independent from GCE. The
19   Department explained that it “makes its own determination regarding nonprofit status, and
20   the fact that HLC may have reached a different conclusion is neither binding nor persuasive.”
21   AR-A-0035. Plaintiff does not cite any authority for the proposition that the Department is
22   required to defer to an accrediting agency’s findings when deciding how to administer a federal
23   program, nor is the Department aware of any such authority.12 Given that the Department is
24   for IRS tax purposes—they have nothing to do with the Department of Education or the
25   Higher Education Act. The Department has made clear that it takes no position on and does
     not purport to interfere with Plaintiff’s IRS tax-exempt status. See AR-A-0017.
26   12 Plaintiff only cites M.M. v. School Dist. of Greenville, 303 F.3d 523 (4th Cir. 2002) on this issue,

27   Pl.’s Mot. at 25, which is inapposite. M.M. addressed whether the district court erred in failing
     to defer to educators’ assessment of a student’s disability accommodation, in a claim under
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1    the source of the Title IV funds administered by an institution, it is easy to understand why it
2    is responsible for ensuring that institutions participating in Title IV programs comply with the
3    program’s requirements—not accrediting agencies. Indeed, that is why approval from an
4    accrediting agency is merely one of many threshold requirements that schools must meet to
5    establish Title IV eligibility, not the sole or deciding factor. See 20 U.S.C. § 1058(b)(1)(D).13 As
6    HLC itself recognized, the accrediting agency must accept the Department’s determination
7    about Title IV eligibility and nonprofit status—not the other way around. See AR-G-0048.
8           The Department considered HLC’s finding and explained why it reached contrary
9    conclusions; the APA requires nothing more. See Dillmon v. Nat’l Tranp. Safety Bd., 588 F.3d
10   1085, 1089 (D.C. Cir. 2009) (“[U]nder [the arbitrary and capricious] standard, we ‘defer to the
11   wisdom of the agency, provided its decision is reasoned and rational, and even ‘uphold a
12   decision of less than ideal clarity if the agency’s path may be reasonably discerned.’” (quoting
13   Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286 (1974)).
14          e.      Review was Consistent with the Department’s Existing Practices. Plaintiff is also wrong
15   to argue that the Decisions are arbitrary and capricious because “the Department deviated
16   from its long-established policy” of “always deferr[ing] to IRS tax-exempt approval for
17   determining nonprofit status” when reviewing non-profit conversions. Pls.’ Mot. at 18. The
18   challenged Decisions were not a departure from the Department’s existing practices. As the
19   record reflects, Plaintiff is well-aware that the Department has been scrutinizing nonprofit
20   conversions closely for years, to more reliably ensure that its requirements for nonprofit status
21
     the Individuals with Disabilities Act; that case has no bearing on the Department’s
22   administration of the Higher Education Act, accreditors, or anything else relating to this case.
23   13
        Contrary to Plaintiff’s assertions, this is wholly consistent with the fact that accrediting
24   agencies are required to maintain standards for reviewing a variety of substantive changes,
     including changes in ownership or control. Pl.’s Mot. at 25 (citing 20 U.S.C. § 1099b(c) & 34
25   C.F.R. § 602.22). In accordance with HEA, accrediting agencies focus on educational quality,
     not corporate structure, and apply different review standards from the Department. 20 U.S.C.
26
     § 1099b. There is no HEA or regulatory provision that requires accrediting agencies to
27   consider—let alone determine—whether an institution meets the Department’s requirements
     for nonprofit status. Accreditation is always just one step in achieving Title IV eligibility—
28   otherwise the Department’s other eligibility requirements would be meaningless.

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1    are met. See, e.g., AR-J-0333. It is well-settled that agencies are free to develop their own rules
2    in an adjudicatory setting. See NLRB v. Bell Aeorspace Co., 416 U.S. 267 (1974). And, while that
3    general rule is subject to the constraint that an agency must “display awareness [when] it is
4    changing position,” Fox Telev. St., 556 U.S. at 515, that requirement does not apply when, as
5    here, the agency action was actually consistent with its existing practices.
6           Since at least 2016—three years before the challenged decision in this case and two years before the
7    Gazelle/GCE transaction closed—the Department has employed a process of detailed scrutiny to
8    assess change-in-control applications seeking nonprofit conversion. See Gov’t Accountability Off.,
9    GAO-21-89, Higher Ed.: IRS and Education Could Better Address Risks Associated with Some For-
10   Profit College Conversions, at 41 (December 2020), available at https://www.gao.gov/assets/gao-
11   21-89.pdf.14 That process includes evaluating the types of information considered in the
12   challenged Decisions, such as: “a list of the new tax exempt college’s board of directors,
13   purchase and sale agreements, and independent appraiser reports, to assess whether the sale
14   price was fair and did not improperly benefit insiders.” Id. As a result, this is not the first time
15   the Department has rejected an application for nonprofit status by a 501(c)(3) tax-exempt
16   institution. Indeed, Plaintiff concedes that the Department rejected the nonprofit status of at
17   least one other tax-exempt school in 2016. Pls.’ Mot. at 6.15 Thus, the Decisions applied the
18   Department’s existing practice to GCU’s application; it did not create a new policy. See Select
19   Specialty Hosp.-Bloomington, Inc. v. Sebelius (denying APA claims where plaintiffs “d[id] not show
20   that the [agency] actually changed [its] interpretation of the regulation.”).
21          Plaintiff cannot credibly suggest it lacked notice of the Department’s current standards,
22   or that the Department “fail[ed] to take GCU’s reliance into account.” Pl.’s Mot. at 19 (citing
23   Fox Television, 556 U.S. at 515-16). In fact, Plaintiff was well-aware of the Department’s policy
24
25
     14 As Defendants explained in prior briefing, the Court can take judicial notice of the state-
     ments made in GAO reports, so long as it does not automatically adopt inferences or conclu-
26   sions of law stated therein. ECF No. 68 at 6-7.
27   15Notably, the lawyers who challenged that 2016 decision are the same lawyers representing
     Plaintiff in this case. See AR-J-0320. The parties settled the case, and thus the Department’s
28   analysis of the applicable statutes and regulations was not considered by any court. AR-J0320.

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1    of reviewing change-in-control applications for more than just 501(c)(3) status in accordance
2    with the HEA and its implementing regulations, which Plaintiff repeatedly acknowledged
3    throughout the application process. See, e.g., AR-J-0333; AR-J-0074 (“We understand that the
4    Department makes an independent decision regarding an institution’s status as a nonprofit
5    institution for Title IV purposes.”); see also AR-J-0078. Plaintiff explicitly recognized that the
6    Department had rejected nonprofit classification of 501(c)(3) schools in the past, and tried to
7    differentiate itself from that scenario. See AR-J-0081 (“We are aware that, in other cases, the
8    Department has determined that, notwithstanding an institution’s nonprofit status, the terms
9    of the institution’s relationship with its former for-profit owner suggest the former owner still
10   benefits from the net earnings of the institution.”); AR-J-0077 (contending that “the new GCU
11   and GCE relationship differs from other ‘nonprofit conversions’ that have come under
12   Department scrutiny in the past.”). Plaintiff knew about the Department’s practice of
13   independently scrutinizing nonprofit conversions, but thought that it would be able to push
14   its application through in spite of that policy. See AR-E-0007 (“It appears the current political
15   landscape is much more favorable to this type of transaction.”); AR-E-0098 (same).
16          Finally, Plaintiff is wrong to argue that the Decisions were a “policy change” based on
17   the fact that other schools with distinct revenue-sharing agreements have been classified as
18   nonprofit institutions. Pl.’s Mot. at 20. The fact that some existing nonprofits have service
19   agreements with third-party online program managers, id., has nothing to do with the
20   standards that the Department applies when evaluating a conversion following a change-in-
21   ownership application. Rather, the Department’s decision to deny a conversion to nonprofit
22   status “depends on the structure and impact of the Transaction in the context of the regulatory
23   requirements for a nonprofit institution.” See AR-J-0329 (emphasis added). The Department
24   considered the voluminous documents Plaintiff provided with its reapplication and
25   determined that nonprofit status was not warranted because of various factors in combination,
26   including but not limited to the service agreement. This larger context in conjunction with
27   Plaintiff’s service agreement—i.e., the myriad ways in which the buyer (GCU) and the seller
28   (GCE) remained intertwined—was a key aspect of the Department’s analysis here.

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1            Nor can complex service agreements be distilled down to mere percentages of revenue
2    divorced from their context, as Plaintiff suggests. Pl.’s Mot. at 21. For that reason, the
3    Department concluded that Plaintiff’s conversion was “unlike any prior nonprofit conversion”
4    it had seen before. AR-J-0129. Still, the Department considered the chart of other service-
5    provider agreements that Plaintiff provided during the application process (even though they
6    were distinguishable because they did not involve changes in ownership), AR-C-1775-1781,
7    and asked Plaintiff for additional information to better understand Plaintiff’s view. Specifically,
8    the Department requested that “to the extent GCU relies on the service provider survey chart
9    . . . and to the extent the information is available to you or your clients, please identify any
10   service providers that are affiliates, owners, or former owners of the institution (including
11   related persons and entities), and indicate whether any of the servicing agreements were
12   entered into in conjunction with a change in ownership transaction.” AR-J-0156. Plaintiff
13   could not point to any comparable agreements in response, stating instead that “GCU believes
14   that comparisons to the Kaplan transaction or any other example are not relevant . . . Rather, it believes
15   that the Transaction stands on its own.” AR-J-0086 (emphasis added). While Plaintiff now
16   attempts to invoke the Purdue-Kaplan sale (which resulted in a grant of public status by virtue
17   of Purdue’s receipt of that status from the state of Indiana) as an example of a “materially
18   similar” conversion with disparate results, Pl.’s Mot. at 20, that cannot be squared with
19   Plaintiff’s own statements in the record. In any event, the Purdue-Kaplan transaction had
20   materially distinguishable characteristics that reasonably led to a different result—for example,
21   unlike Plaintiff, Purdue is public institution of higher education, which means that its Title IV
22   student loans are backed by the state of Indiana. See AR-J-0006 (describing Purdue Kaplan as
23   “a newly created online university within a high profile state university system (emphasis added)).16
24
     16 Contrary to Plaintiff’s assertion that the Purdue-Kaplan transaction was “nearly identical”
25   to GCU’s transaction, Pl.’s Mot. at 20, it also differed from GCU’s conversion in other
     significant ways. For example, the Purdue-Kaplan transaction was structured so that the for-
26
     profit service company would only be paid for services it actually provided to the public
27   university and then only after the non-profit broke even on its expenses. And those payments
     were capped at approximately 12% of Purdue’s tuition and fees. See Second Am. Compl. ¶ 8,
28   In re Grand Canyon Ed., Inc. Sec. Lit., 20-cv-639-MN-CJB (D. Del. Filed Jan. 21, 2022).

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            C.      The Decisions did not Impose Legislative Rules that Require Notice
1
                    and Comment Rulemaking
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            For the same reasons discussed above, the Court should also grant summary judgment
3
     for Defendant on Count III of Plaintiff’s Complaint, which claims that the “Decisions
4
     imposed legislative rules because they required GCU to comply with new obligations in order
5
     to establish nonprofit status for purposes of Title IV [and] changed the Department’s long-
6
     standing practice for acknowledging nonprofit status for purpose of Title IV.” Compl. ¶¶ 342-
7
     46. In Plaintiff’s summary judgment motion, it now argues that the Department’s Decisions
8
     “re[wrote] its change-in-control regulations in the guise of interpreting 600.2.” Pl.’s Mot. at
9
     14-15. As discussed above, these arguments are meritless. The Decisions did not impose new
10
     rules, but rather reasonably applied the Department’s longstanding regulations. See supra Part
11
     IV.A & B. And the Department did not “change [its] longstanding practice,” but rather applied
12
     its existing practice for reviewing change in control applications—which practice also is
13
     consistent with the applicable regulations. See supra Part IV.B.e.
14
            The Department did not impose any new rule here, much less a “legislative rule” that
15
     warrants negotiated rulemaking. See Hemp Indus. Ass’n v. DEA, 333 F.3d 1082, 1087 (9th Cir.
16
     2003) (“[I]nterpretive rules merely explain, but do not add to, the substantive law that already
17
     exists in the form of a statute or legislative rule. Legislative rules . . . create rights, impose
18
     obligations, or effect a change in existing law pursuant to authority delegated by Congress.”).
19
     In any event, it is well-settled that an agency “is free to alter its past rulings and practices even
20
     in an adjudicatory setting.” Airmark Corp. v. FAA, 758 F.2d 685, 691-92 (D.C. Cir. 1985).
21
            D.      The Department’s Enforcement of the HEA does not violate Plaintiff’s
22                  First Amendment Rights.
23          Plaintiff is wrong to claim that the Department violated its First Amendment rights by
24   prohibiting GCU from describing itself as a nonprofit in a manner that would mislead the
25   public. Pl.’s Mot. at 30. The challenged restriction is a permissible condition on Plaintiff’s
26   receipt of federal funds under Title IV. Moreover, it prohibits only misleading commercial
27   speech, which is not protected under the First Amendment. And, even if the First Amendment
28   applied, the condition prohibiting misleading speech would survive any level of scrutiny.

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                     1.     The Challenged Restriction is a Permissible Condition on the Receipt of
1
                            Federal Funds.
2
              The challenged restriction is not a First Amendment violation. Rather, it properly
3
     conditions Plaintiff’s ongoing participation in Title IV—and thus its receipt of federal funds—
4
     on the school’s accurate representation of its participation in the program.
5
              A Title IV program participant that engages in “substantial misrepresentations about
6
     the nature of its educational program, its financial charges, or the employability of its
7
     graduates” faces the prospect of losing its Title IV funding. 34 C.F.R. § 668.71(b). The term
8
     “misrepresentation is defined as “[a]ny false, erroneous or misleading statement . . . A
9
     misleading statement includes any statement that has the likelihood or tendency to mislead
10
     under the circumstances.” Id. § 668.71(c). The term “substantial misrepresentation is further
11
     defined as a “misrepresentation on which the person to whom it was made could easily be
12
     expected to rely, or has reasonably relied, to that person’s detriment.” Id.
13
              Because GCU is not classified as a nonprofit institution for purposes of the Higher
14
     Education Act, the Department reasonably determined that statements touting the school’s
15
     “nonprofit status” would mislead students and the public about its educational program.
16
     Students and their families are not in a position to carefully assess the ownership structure and
17
     contracts of a school in order to consider whether the school has incentives contrary to their
18
     interests (i.e., to use their tuition in a manner that does not prioritize their high-quality
19
     educational experience); instead, they must rely on whether the Department has classified the
20
     school as a nonprofit. See Written Testimony of Brian Galle to U.S. Dep’t of Ed. (May 7, 2018)
21
     (explaining that there is strong “evidence that consumers believe nonprofits act differently
22
     than for-profits . . . [Consumers] believe that nonprofits are not looking out for their bottom
23
     line—that they’re not going to cut quality to make money”).17
24
              Accordingly, at the end of its Decision, the Department, after stating that “[t]he for-
25
     profit status of the Institution is for purposes of its participation in the Title IV, HEA
26
     programs” and that the Department “does not take a position with respect to Gazelle’s non-
27
28   17   available at https://edlabor.house.gov/imo/media/doc/GalleBrianTestimony042021.pdf
                                                    27
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1    profit 501(c)(3) status with the Internal Revenue Service,” instructed GCU that, in order to
2    receive Title IV funds, it “must cease any advertising or notices that refer to its ‘nonprofit
3    status’” because “[s]uch statements are confusing to students and the public, who may
4    interpret such statements to mean that the Department considers GCU a nonprofit under its
5    regulations. The Department does not take a position regarding statements that GCU may
6    make about its IRS status as a 501(c)(3) tax exempt organization.” AR-A-0017 (initial decision);
7    see also AR-A-0037 (reconsideration decision).
8           Generally, “if a party objects to a condition on the receipt of federal funds, its recourse
9    is to decline the funds. This remains true when the objection is that a condition may affect the
10   recipient’s exercise of its First Amendment rights.” Agency for Int’l Dev. V. All. For Open Soc.
11   Int’l, Inc. 570 U.S. 205, 214 (2013). In some cases, however, “a funding condition can result in
12   an unconstitutional burden on First Amendment rights,” but only if the condition falls
13   “outside the contours of the program itself.” Id.
14          Here, the Department’s condition falls squarely within the contours of the program; it
15   requires that GCU accurately represent its classification as a proprietary institution for
16   purposes of its Title IV participation. The purpose of Title IV is to provide loans and grants
17   that help students pay tuition for their postsecondary education, and the Department has
18   broad authority to implement that purpose. See supra Part II.A. Thus, the Department imposed
19   a condition to ensure that students and the public would not be confused about where that
20   money actually goes. See Rust v. Sullivan, 500 U.S. 173, 193 (1991) (“Congress’ power to allocate
21   funds for public purposes includes an ancillary power to ensure that those funds are properly
22   applied to the prescribed use.”). At the same time, Plaintiff remains free to engage openly in
23   speech that falls outside its participation in Title IV. For example, the Department does not
24   “demand that [GCU] adopt—as [its] own—the Government’s view.” Id. at 218. Rather,
25   Plaintiff can publicly express disagreement with the Department’s decision and its view that
26   GCU should have been recognized as a nonprofit institution for purposes of its participation in
27   Title IV programs. And Plaintiff also is free to make statements about classifications it receives
28   outside the Title IV program, including its IRS status as a 501(c)(3) tax-exempt organization.

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1    AR-A-0017. Because the condition does not “prohibit [] the recipient from engaging in
2    protected conduct outside the scope of the federally funded program,” it does not violate the
3    First Amendment. Rust, 500 U.S. at 193.
4                    2.     The Condition Would Survive First Amendment Analysis
5            Similarly, there is no First Amendment protection for commercial speech that is
6    inherently misleading. See Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’m of New York, 447
7    U.S. 557, 563 (1980); in re R.M.J., 455 U.S. 191, 203 (1982); Hoffman Cap. Cities/ABC, Inc., 255
8    F.3d 1180, 1185 (9th Cir. 2001). It is permissible “to ban forms of communication more likely
9    to deceive the public than to inform it.” Cent. Hudson, 447 U.S. at 563; see also Zauderer v. Off. of
10   Disciplinary Couns. of Supreme Court of Ohio, 471 U.S. 626, 638 (1985). (“[T]he Federal
11   Government [is] free to prevent the dissemination of commercial speech that is false,
12   deceptive, or misleading.”). Plaintiff does not dispute that its advertising and marketing
13   materials constitute commercial speech, but claims that calling itself a nonprofit in those
14   materials is “factually accurate” (i.e., not misleading). Pl.’s Mot. at 30-31. While that is true in
15   the context of its IRS 501(c)(3) status (which the Department did not restrict), Plaintiff
16   marketing itself as a nonprofit school suggests to students and the public that the Department
17   considers GCU a nonprofit under its regulations. AR-A-0017.
18        Plaintiff also argues that the restricted representations are not “purely commercial speech”
19   because they include more than “just advertisements.” Pl.’s Mot. at 30.18 But advertising is not
20   the only form of commercial speech. Rather, when determining whether speech is
21   “commercial,” courts consider multiple factors, including not just whether the speech is a form
22   of “advertising,” but also whether “the speech references a specific product” and/or whether
23   “the speaker has an economic motive for engaging in the speech.” Am. Acad. of Pain Mgmt. v.
24   Joseph, 353 F.3d 1099, 1106 (9th Cir. 2004) (citing Bolger v. Youngs Drug Prods. Corp., 463 U.S.
25   60, 66-67 (1983)). None of these factors alone is dispositive. While the combination of all
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27   18Even if the Court were to find that some speech covered by the Decisions receives First
     Amendment protection, the Court should limit any such holding and uphold the Decisions as
28   applied to Plaintiff’s advertising and marketing materials.

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1    three may provide support for a finding of commercial speech, “it is not necessary that each
2    of the characteristics “be present in order for speech to be commercial.” Bolger, 463 U.S. at 67
3    n.14. Here, regardless of whether labeled as “advertising” or some other format, Plaintiff’s
4    representations about its “nonprofit status” are designed to market the school—i.e., to
5    promote its product (the school) in a manner that ultimately serves GCE’s economic interests.
6    Shortly after the transaction closed, Brian Mueller, who is both GCU’s President and GCE’s
7    CEO, made this explicit, stating: “[T]he University being not-for-profit is a tremendous
8    advantage. That stigma is now gone. We can recruit in high schools that would not let us in
9    the past . . . We’re just 90 days into this, but we’re experiencing, we believe, a tailwind already
10   just because of how many students didn’t pick up the phone [before] because we were for-
11   profit.” The Future of Ed. – Trends, Costs & Tech., the Motley Fool (Dec. 20, 2018),
12   https://www.fool.com/investing/2018/12/20/the-future-of-education-trends-cost-technology.aspx.
13          Even assuming arguendo that the Department’s condition covers some noncommercial
14   speech, the Decisions would survive any level of scrutiny under the First Amendment. Indeed,
15   it survives the highest level, strict scrutiny, which requires that the condition serve a compelling
16   government interest and is narrowly tailored to serve that interest. Reed v. Town of Gilbert, 135
17   S. Ct. 2218, 2226 (2015). As discussed above, the Department restricted GCU from making
18   statements referring to its nonprofit status (but not as to its 501(c)(3) status) because those
19   statements are likely to mislead students and the public about the school’s status for purposes
20   of Title IV funding, its operations, and its competing financial incentives. Plaintiff does not
21   dispute that this interest is compelling, but rather only insists that it is not implicated—i.e., that
22   there is no evidence “that students place any importance on the Department’s elusive
23   nonprofit/for-profit distinction.” Pl.’s Mot. at 30-31. Plaintiff’s position defies not only the
24   Department’s extensive experience and common sense, but also Plaintiff’s own public
25   statements and data. On February 20, 2019, Mr. Mueller stated during GCE’s Q4 2018
26   earnings call: “[N]ew student online growth [following GCU’s conversion] was more than we
27   expected and I think it’s evidence that being out there now a million times a day saying we’re
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1    non-profit has had an impact.”19 In other words, not only did Mr. Mueller recognize that the
2    school’s representations about its nonprofit status were directly driving student enrollment,
3    but he also considered that information significant and relevant on a call about GCE’s financial
4    earnings. Moreover, GCE’s stock price soared by 50% following the transaction, based on its
5    statements about GCU’s nonprofit status, and then dropped dramatically when those
6    misrepresentations were curbed by the Department’s Decisions. See Second Am. Compl. ¶ 2,
7    In re Grand Canyon Ed., Inc, Sec. Lit., No. 20-639-MN-CJB (D. Del. filed on Jan. 21, 2022)
8    (securities class action filed by GCE shareholders, based on university’s misrepresentations
9    about nonprofit status).
10          Finally, the Department’s prohibition against misleading representations is narrowly
11   tailored to address the compelling interest at stake. The Decisions only restrict GCU’s
12   statements insofar as they are likely to mislead students and the public about its classification
13   by the Department for purposes of Title IV. GCU remains free to make accurate statements
14   about the nature of its organizational structure (that it is owned by a corporation organized
15   under Arizona law as a nonprofit corporation) and about its tax status (that the IRS has granted
16   it 501(c)(3) tax-exempt status), so long as it makes clear that the Department has not granted
17   it nonprofit status under the HEA. AR-A-0017.20
18   V.     CONCLUSION
19          Accordingly, for the foregoing reasons, the Court should grant summary judgment in
20   favor of Defendants on all counts of Plaintiff’s complaint.
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     19 Grand Canyon Education Inc. (LOPE CEO Brian Mueller on Q4 2018 Results Earnings
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     Call Transcript, available at https://seekingalpha.com/article/4242733-grand-canyon-educa-
26   tion-inc-lope-ceo-brian-mueller-on-q4-2018-results-earnings-call-transcript.
27   20For these same reasons, the condition would meet the lesser level of intermediate scrutiny
     because it directly advances a substantial governmental interest and is not more extensive than
28   necessary to serve that interest. See Cent. Hudson, 447 U.S. at 566.

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1    Dated: June 30, 2022             Respectfully submitted,
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1                                  CERTIFICATE OF SERVICE
2           I hereby certify that on June 30, 2022, I electronically transmitted the foregoing to the
3    Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
4    Filing to the CM/ECF registrants for this matter.
5
                                                         /s/ Emily Nestler
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                                                         EMILY NESTLER
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